          Case 1:20-vv-02059-UNJ Document 41 Filed 03/27/23 Page 1 of 2




    In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                         No. 20-2059V
                                        UNPUBLISHED


    MEGAN HEBBARD-CONTRERAS,                                Chief Special Master Corcoran

                        Petitioner,                         Filed: February 22, 2023
    v.
                                                            Special Processing Unit (SPU);
    SECRETARY OF HEALTH AND                                 Ruling on Entitlement; Concession;
    HUMAN SERVICES,                                         Table Injury; Influenza (Flu) Vaccine;
                                                            Shoulder Injury Related to Vaccine
                       Respondent.                          Administration (SIRVA)


Laura Levenberg, Muller Brazil, LLP, Dresher, PA, for Petitioner.

Mitchell Jones, U.S. Department of Justice, Washington, DC, for Respondent.

                                   RULING ON ENTITLEMENT 1

       On December 30, 2020, Megan Hebbard-Contreras filed a petition for
compensation under the National Vaccine Injury Compensation Program, 42 U.S.C.
§300aa-10, et seq. 2 (the “Vaccine Act”). Petitioner alleges that that she suffered a Table
Injury – shoulder injury related to vaccine administration (“SIRVA”) – as a result of an
influenza (“flu”) vaccine administered on October 9, 2019. Petition at 1. Petitioner further
alleges the vaccine was administered within the United States, that she suffered the
residual effects of her injury for more than six months, and that there has been no prior
award or settlement of a civil action on her behalf as a result of her injury. See Petition at
¶¶ 2, 15-17. The case was assigned to the Special Processing Unit of the Office of Special
Masters.


1
  Because this unpublished Ruling contains a reasoned explanation for the action in this case, I am required
to post it on the United States Court of Federal Claims' website in accordance with the E-Government Act
of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of Electronic Government
Services). This means the Ruling will be available to anyone with access to the internet. In accordance
with Vaccine Rule 18(b), Petitioner has 14 days to identify and move to redact medical or other information,
the disclosure of which would constitute an unwarranted invasion of privacy. If, upon review, I agree that
the identified material fits within this definition, I will redact such material from public access.
2
 National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for ease
of citation, all section references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2012).
         Case 1:20-vv-02059-UNJ Document 41 Filed 03/27/23 Page 2 of 2




        On February 22, 2023, Respondent filed his Rule 4(c) report in which he concedes
that Petitioner is entitled to compensation in this case. Respondent’s Rule 4(c) Report at
1. Specifically, Respondent indicates that it his “position that petitioner has satisfied the
criteria set forth in the Vaccine Injury Table (“Table”) and the Qualifications and Aids to
Interpretation (“QAI”) for SIRVA following the intramuscular administration of a flu
vaccine.” Id. at 6 (citing 42 C.F.R. §§ 100.3(a)(I)(B), 100.3(c)(15)). Respondent further
agrees that in regard “to other statutory and jurisdictional issues, the records show that
the case was timely filed, that the vaccine was received in the United States, and that
petitioner satisfies the statutory severity requirement by suffering the residual effects or
complications of her injury for more than six months after vaccine administration.” Id.
(citing 42 U.S.C. §§ 300aa-11(c)(1)(B)(i)(Ι), -11(c)(1)(D)(i)).

       In view of Respondent’s position and the evidence of record, I find that
Petitioner is entitled to compensation.

      IT IS SO ORDERED.

                                                         s/Brian H. Corcoran
                                                         Brian H. Corcoran
                                                         Chief Special Master
